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                      EXHIBIT 3
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                                                             IN THE CIRCUIT COURT OF THE 11TH
                                                             JUDICIAL CIRCUIT, IN AND FOR
                                                             MIAMI-DADE COUNTY, FLORIDA

                                                             CASE NO.

        MONARCH AIR GROUP, LLC, and
        JACOB GITMAN

                Plaintiffs,

        v.

        GRANT STERN

                Defendant.

        __________________________________/

                               COMPLAINT AND DEMAND FOR JURY TRIAL

                Plaintiffs MONARCH AIR GROUP, LLC and JACOB GITMAN sue Defendant GRANT

        STERN and allege:

                                               INTRODUCTION

             1. This is an action to recover damages in excess of $5,000,0000 for the reputational

                damage suffered by Jacob Gitman [“Gitman”], a self-made entrepreneur, and a private

                aviation provider, Monarch Air Group, LLC [“Monarch Air”], due to the publication of

                an article by a so-called “investigative journalist” based on innuendo and false

                information.

             2. The article falsely claims that Gitman and Monarch Air have been found by a federal

                judge to be part of the “Russian Mafia,” even though neither he nor Monarch Air has

                ever been convicted, let alone charged with, a crime. It also claims without a shred of

                evidence that Gitman and Monarch Air have “infiltrated” the Department of Justice.




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      3. The publication of these baseless and unsubstantiated allegations, none of which he even

         attempted to speak with Gitman or Monarch about, has caused the Plaintiffs irreparable

         reputational and economic harm, which is the basis for this action.

                                   Jurisdiction, Venue, and Parties

      4. Plaintiff MONARCH AIR GROUP, LLC (“Monarch Air”) is a Florida corporation with

         its principal place of business in Fort Lauderdale, Florida.

      5. Plaintiff JACOB GITMAN (“Gitman”) is a citizen of Florida and otherwise sui juris.

      6. Defendant GRANT STERN (“Stern”) is a citizen of Florida and otherwise sui juris.

      7. Venue is proper in Miami-Dade County pursuant to §§ 47.011 and 47.051 because the

         tortious conduct alleged accrued in Miami-Dade County and the parties reside in Miami-

         Dade County.

      8. All conditions precedent to the institution of this action have been satisfied or otherwise

         excused, including the service of statutory notice on Stern pursuant to Fla.Stat. § 770.01.

      9. At all times relevant to this action, Gitman was a minority shareholder of Monarch Air.

      10. At all times relevant to this action, Stern was the editor and publisher of an online

         website titled “The Stern Facts.”

      11. “The Stern Facts” is accessible worldwide. According to its website, “The Stern Facts”

         is a publisher of “investigative news journalism” and “fact based political reports.”

      12. Stern reviews, edits, approves, and assists in the creation of the articles published on

         “The Stern Facts,” including the article that is the subject of this lawsuit. Many of the

         stories published on “The Stern Facts” are also authored by Stern. Stern, in his capacity

         as editor and publisher of “The Stern Facts,” also pays and collaborates with other self-

         styled “investigative journalists,” including Patrick Simpson, the author of the article



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         that is the subject of this lawsuit. Simpson is also listed on the website as a co-editor of

         “The Stern Facts,” along with Stern.

      13. Upon information and belief, Stern also assists with and/or contributes to the

         investigations that give rise to the articles that appear on the website, including the article

         that is the subject of this lawsuit.

                                            General Allegations

      14. On March 14, 2019, Stern, in his capacity as the editor and publisher of “The Stern

         Facts,” published an article on “The Stern Facts” titled “Under Trump, Witness

         Protection has been infiltrated by the Russian Mafia” (“March 14 Article”). A copy of

         the article is attached hereto as Exhibit A.

      15. The March 14 Article contained numerous false and defamatory statements about

         Monarch Air and Gitman, most of which are defamatory per se. Most notably, the

         article falsely and sensationally accused Gitman and Monarch Air of being “Russian

         Mobsters,” even though they have never been charged with a single crime and there is no

         evidence that they committed one.

      16. The article further falsely asserts that “judges in multiple states” have stated that

         Monarch Air is “allegedly a Russian Mob front,” even though no judge has ever made

         such a finding, let alone made such a statement.

      17. In addition, the article claims that Gitman and Monarch Air have “infiltrated” the

         Department of Justice, falsely implying that they obtained access to the witness

         protection program. In fact, Monarch Air merely performed a contract which they

         obtained through competitive bidding to provide air transportation services for the

         Department of Justice no different than any airline.



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      18. The March 14 Article also states that Monarch Air obtained its contract with the federal

         government under the Trump administration, falsely implying that Monarch Air had a

         connection with Donald Trump. In fact, Monarch Air was approved as a vendor by the

         federal government to perform air charter services work for any federal agency though

         the General Services Administration, including the Department of Justice, three years

         before President Trump was ever elected to the presidency.

      19. In addition to these outrageous and incendiary claims, none of which he attempted to

         verify with Gitman or Monarch, the March 14 Article contained the following false and

         defamatory statements:

            a. Mr. Gitman and Monarch Air are part of the “Russian Mafia”;

            b. “[J]udges in multiple states” have found that Monarch Air is a “front” for the

                Russian mob;

            c. The witness protection program has been “infiltrated” by Monarch Air;

            d. “Why would the Trump Administrations [sic] Department of Justice allow a

                company that operates as a front for the Russian mob anywhere near the sacred

                halls of Witness Protection, not once, but twice? What was going on in June 2017

                and January 2018 that warranted these contracts?”;

            e. “The only reason these people have not ended up in prison is that is seems like law

                enforcement is too busy to communicate crimes across state lines.”;

            f. Monarch Air has “ties” with members of the “Russian Mafia” who used Monarch

                Air “to funnel money and drugs on behalf of the Russian Mafia.”;

            g. “Sources have placed Michael Cohen in the same world as Jacob Gitman on

                multiple occasions as well. There are pretty significant indirect ties between the



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                two, but no smoking gun as of yet. These aforementioned crimes mentioned above

                would send anyone to jail.”;

            h. “Michael Kocharov is yet another tie from Gitman to Trump. He is an owner of

                two Trump Tower Panama Properties, and is also a registered agent for one of

                Jacob Gitman’s companies. Kocharov’s business partner Alexandre Ventura

                Nogueira was the primary broker for the Panama Project and is now a convicted

                felon.”;

            i. “Along came the Gitman Family, Jacob Gitman, though a Brazilian Investment

                Company ‘Prudent Investimentos’ purchased 200 million in the fake debt

                portfolios, while allowing Hylan to continue managing the portfolio.”;

            j. “These aforementioned crimes mentioned above [sic] would send anyone to jail.

                Certainly, the Fake Debt scheme harmed more people than Hollywood Celebrities

                wasting money to get their kids into reputable colleges, but this happened because

                authorities across the country fail to share notes and lack the manpower to do the

                research needed to find the crimes.”; and

            k. “The very fact that Monarch Air was able to sign two major Witness Security

                contracts with the DOJ while being tied to the Russian Mob is a story that should

                have been told months ago. My only hope is that somebody important in the

                Mueller investigation reads this article and acts appropriately.”

      20. Stern also authored and/or co-authored the article’s headline, Under Trump, Witness

         Protection has been infiltrated by the Russian Mafia,” which was also false and

         defamatory.




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                                    CLAIMS OF MONARCH AIR

                                 COUNT I – DEFAMATION PER SE

            Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1 – 20, and

   all subparts.

       21. On or about March 14, 2019, Stern posted, as Editor, the March 14 Article which

           contained numerous statements that were false and defamatory and/or defamatory per se,

           as more fully described in paragraphs 15-20, including all subparts..

       22. The aforementioned false and defamatory statements were of and concerning Monarch

           Air and published to third parties.

       23. The false and defamatory statements were defamatory per se because they charged

           Monarch Air committed a crime and/or tended to subject Monarch Air to hatred, distrust,

           ridicule, contempt, or disgrace, and/or tended to injure Monarch Air in its profession.

       24. Stern published the March 14 Article and the statements contained therein knowing they

           were false or with reckless disregard for their truth.

       25. As a direct and proximate cause of the aforementioned defamatory statements, Monarch

           Air has suffered and will continue to suffer damage to its reputation, as well as loss of

           income, diminution in value of its shares, loss of goodwill, and other economic losses.

       WHEREFORE, Plaintiff MONARCH AIR GROUP, LLC demands judgment in its favor,

   including compensatory damages, costs, interest, and other relief this Court deems just and

   proper. Monarch Air reserves its right to amend its complaint to seek punitive damages upon the

   making of an evidentiary proffer.




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                                    CLAIMS OF JACOB GITMAN

                                 COUNT II – DEFAMATION PER SE

           Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1 – 20, and

   all subparts.

       26. On or about March 14, 2019, Stern posted, as Editor, the March 14 Article which

           contained numerous statements that were false and defamatory and/or defamatory per se,

           as more fully described in paragraphs 15-20, including subparts.

       27. The aforementioned false and defamatory statements were of and concerning Gitman and

           published to third parties.

       28. The false and defamatory statements were defamatory per se because they charged

           Gitman committed a crime and/or, tended to subject Gitman to hatred, distrust, ridicule,

           contempt, or disgrace, and/or tended to injure Gitman in his profession.

       29. Stern published the March 14 Article and the statements contained therein knowing they

           were false or with reckless disregard for their truth.

       30. As a direct and proximate cause of the aforementioned defamatory statements, Gitman

           has suffered and will continue to suffer damage to his personal and professional

           reputation, emotional distress, loss of income and future loss of earning capacity.

           WHEREFORE, Plaintiff demand judgment in his favor, including compensatory

   damages, costs, interest and other relief this Court deems just and proper. Gitman reserves its

   right to amend its complaint to seek punitive damages upon the making of an evidentiary proffer.

                                     DEMAND FOR JURY TRIAL

           Plaintiffs demand trial by jury on all issues so triable.




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                                             Respectfully submitted,

                                             THE LAW OFFICE OF
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                                             Fax No.:      (305) 372-5904

                                             BY:    _/s/David H. Pollack________
                                                    DAVID H. POLLACK
                                                    Fla. Bar No. 0955840
                                                    MATTHEW STREET
                                                    Fla. Bar No. 1013945




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                            3      laundering          and    risk       of    flight.           The   defendant          has    an    ownership


                            9      interest       in    two       companies,            one     called      Skyway.       one    called


                         it        Monarch.        These          are    airplane          companies.          They       have    a


                         11        legitimate          purpose          in    that      they     are   airline       companies.           They


                         12        were    also    used       to    wash money             in    the   United States.


                         13                        Cwning          an    airplane          company         allows    you    obviously          to


                         14        leave    quite       easily.              The    airplane         company    not       only rwas      used


                         15        for    laundering money;                   in    2C11      Miami    customs       discovered          16


                         16        kilos    of    cocaine          on    one       of   these       planes.     We    do    not       believe


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                         15        launder       money       and    it       provides         him    the   opportunity           to    flee.




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       defendants were using Monarch to funnel money and drugs on behalf of the Russian

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      jAn;ÿNE9J;ÿAJÿJ8;ÿNAn;ÿDPP9@;ÿFE9:B9?Iÿ9?ÿJ8;ÿ}ALÿ~A>FD>ÿ~A>FD>ÿmN:A?BNhÿ@D??;@J;BÿJD
      D?;ÿPAn9:Lÿ:;ABÿFLÿD?;ÿMA@DFÿC9JnA?q
      OAJAN8Aÿ};>J>A?Bÿ>;rD>J;Bÿ:ANJÿL;A>ÿJ8AJÿJ8;ÿG>A9?9A?ÿ;A@;ÿv;A:ÿHANÿAF:;ÿJDÿ8Arr;?
      F;@AEN;ÿK>J;n;?GDÿHANÿ9?J>DBE@;BÿJDÿ;:9ÿjAJ;>ÿJ8>DEI8ÿAÿnEJEA:ÿP>9;?Bÿ?An;BÿgA?
      K>D?DsqÿgA?ÿ9NÿAÿ>;I9NJ;>;BÿAI;?JÿAJÿD?;ÿDPÿJ8;N;ÿnA?Lÿ@DnrA?9;Nq
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      m?ÿ{hÿ;G;ÿAEÿH>DJ;ÿA?ÿ;r:DN9s;ÿE:9J;>ÿ>9;ÿHD>J8LÿA>J9@:;ÿPD>ÿ}:DDnF;>IÿAFDEJ
      AÿJDr9@ÿmÿ8ABÿ?Dÿ9B;Aÿ;9NJ;Bÿ8A?JDnÿv;FJÿD>JPD:9DNq
      KNÿJ8;ÿNJD>LÿID;NhÿN@Ann;>NÿFDEI8JÿAÿH8D:;ÿ:DABÿDPÿr;>ND?A:ÿ9?PD>nAJ9D?ÿD?ÿJ8;
      9?J;>?;JÿA?BÿrA@GAI;BÿJ8;ÿ9?PD>nAJ9D?ÿANÿ:DA?NÿJ8AJÿ?;;B;BÿJDÿF;ÿ@D::;@J;BÿD?qÿ=8;N;
      rD>JPD:9DNÿI;JÿND:BÿDs;>ÿA?BÿDs;>ÿA?BÿDs;>ÿAIA9?ÿJDÿ89B;ÿJ8;ÿ:9AF9:9JLq
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       *+,-.-/0ÿ23-4ÿ565782ÿ9+:72ÿ+7ÿ23-ÿ2-7;9624ÿ+<ÿ;ÿ=>;??ÿ2+,7ÿ@:4ÿ7;>-5ÿA75/-,BÿA<2-/
       However, they didn’t count on the tenacity of a small town guy named Andrew. After

       +7-ÿ+<ÿ23-ÿ5-C2ÿ9+??-92+/=ÿ23/-;2-7-5ÿ2+ÿ/;D-ÿ36=ÿ,6<-ÿ67ÿ;ÿ5-C2ÿ9+??-926+7ÿ9;??0ÿ3-
       one of the debt collectors threatened to rape his wife in a debt collection call, he

       2/;7=<+/>-5ÿ672+ÿ,3;2ÿ9;7ÿ+7?4ÿC-ÿ5-=9/6C-5ÿ;=ÿ23-ÿ>+5-/7E5;4ÿ-F:6.;?-72ÿ+<ÿ23-
       transformed into what can only be described as the modern-day equivalent of the

       G;/.-?ÿA726E*-/+0ÿ23-ÿH:76=3-/BÿI3-4ÿ23/-;2-7-5ÿ36=ÿ<;>6?4ÿ=+ÿ3-ÿ.+,-5ÿ7-.-/ÿ2+ÿ=2+D
       Marvel Anti-Hero, the Punisher. They threatened his family so he vowed never to stop

       =-;/9367@B
       searching.


       *-ÿJ-D2ÿ>+.67@ÿ:Dÿ23-ÿ93;670ÿ2;J67@ÿ5+,7ÿ23-ÿD;45;4ÿ?+;7ÿ675:=2/40ÿC62ÿC4ÿC62ÿ,3-7ÿ3-
       He kept moving up the chain, taking down the payday loan industry, bit by bit when he

       <+:75ÿ23-ÿ=:DD+=-5ÿ/67@ÿ?-;5-/ÿKÿL+-?ÿI:9J-/ÿM;75ÿ36=ÿC/+23-/ÿN9+22BO
       found the supposed ring leader — Joel Tucker (and his brother Scott.)


       P-/4ÿ672-/-=267@ÿ9+77-926+7=ÿ-Q6=2-5ÿ</+>ÿ23-ÿ+:2=-2ÿ+<ÿ>4ÿ/-D+/267@ÿ;C+:2ÿ23-ÿL+-?
       Very interesting connections existed from the outset of my reporting about the Joel

       I:9J-/ÿ9;=-BÿR+/ÿ67=2;79-0ÿH;4ÿS;4ÿT+;7ÿR67;796-/ÿS-?ÿU6>C;??ÿ3;5ÿ2+ÿ5-9?;/-ÿC;7J/:D294
       Tucker case. For instance, Pay Day Loan Financier Del Kimball had to declare bankruptcy

       C-9;:=-ÿL+-?ÿI:9J-/ÿ;75ÿ36=ÿ;??6-=ÿ,+/J-5ÿ,623ÿV:==6;7ÿH;45;4ÿ?+;7ÿ>;@7;2-ÿ;75ÿ=+7ÿ+<
       because Joel Tucker and his allies worked with Russian Payday loan magnate and son of

       23-ÿ+?6@;/93ÿW@+/ÿH/+.J67ÿ2+ÿ-Q2+/2ÿU6>C;??ÿ+:2ÿ+<ÿ>6??6+7=ÿ+<ÿ5+??;/=BÿW7ÿ23-ÿX;7J/:D294
       the oligarch Igor Provkin to extort Kimball out of millions of dollars. In the Bankruptcy

       <6?67@=ÿ23->=-?.-=0ÿU6>C;??ÿ/-.-;?-5ÿ23;2ÿ36=ÿC:=67-==ÿD;/27-/ÿ67ÿV:==6;ÿKÿY+2+/6+:=
       filings themselves, Kimball revealed that his business partner in Russia — Notorious

       V:==6;7ÿ9/6>67;?ÿZ?-@ÿX+4J+ÿ,;=ÿ3;/;==67@ÿ36>ÿ<+/ÿD;4>-72ÿ+<ÿ23-ÿ>+76-=ÿI:9J-/ÿ=2+?-
       Russian criminal Oleg Boyko was harassing him for payment of the monies Tucker stole

       ;75ÿ23;2ÿ3-ÿ<-?2ÿ;</;65ÿ<+/ÿ36=ÿ?6<-BÿW72-/-=267@?4ÿ-7+:@30ÿX+4J+ÿ,;=ÿ:=67@ÿV+>;7
       and that he felt afraid for his life. Interestingly enough, Boyko was using Roman

       AC/;>+.693ÿ;=ÿ36=ÿ672-/>-56;/4B
       Abramovich as his intermediary.


       X+6J+ÿ+,7-5ÿ;ÿ9+75+ÿ67ÿI/:>Dÿ2+,-/ÿ</+>ÿ[\\]ÿ:726?ÿ3-ÿ=+?5ÿ62ÿ2+ÿ^62>;78=ÿC:=67-==
       Boiko owned a condo in Trump tower from 1994 until he sold it to Gitman’s business

       D;/27-/ÿ;75ÿ9+7.692-5ÿ9/6>67;?ÿP;56>ÿI/6793-/ÿ67ÿ_``\B
       partner and convicted criminal Vadim Trincher in 2009.




                  Finally, in December 2016, the FTC sued Tucker for selling
            phantnm debt. Accnrding tn the regulater, everything had
            happened pretty much as Therrien imagined: Tucker had
            invented more than 7.? million fake debts and sold them tn a

            series of middlemen for $4-2 million. This September, ajudge
            ruled fur the agency, nrdering Tucker to pay back that mnney
            on top of the $30 million he already awed.



       N9+22ÿ,;=ÿ9+7.692-5ÿ+7ÿ[]ÿ93;/@-=ÿ;75ÿ=-72ÿ2+ÿH/6=+7BÿN6Qÿ>+723=ÿ;<2-/ÿX?++>C-/@
       Scott was convicted on 14 charges and sent to Prison. Six months after Bloomberg

       A/269?-ÿD:C?6=3-5ÿ23-ÿ=2+/40ÿL+-?ÿ,;=ÿ675692-5ÿ+7ÿ[aÿ9+:72=ÿ;75ÿ6=ÿ5:-ÿ2+ÿ67ÿ9+:/2ÿ?;2-/
       Article published the story, Joel was indicted on 15 counts and is due to in court later

       236=ÿ4-;/B
       this year.

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       *+,-./0ÿ234.ÿ5-6+4ÿ76892.0ÿ:6,ÿ;3+622<ÿ=6>?:9ÿ:38ÿ@6+A
       Andrew, like Frank Castle, had finally caught his man.


       B-ÿ:6,ÿ:.C
       Or had he?



       DEFGÿFGÿIEJKJÿFLÿMJLGÿLKNOPÿQRGSFTRLFTM
       This is where it gets trulyfascinating


       B+ÿUVWXVYU0ÿ9:.ÿ*99Z-+.<ÿ[.+.-62ÿZ;ÿ9:.ÿ\969.ÿZ;ÿ]./ÿ^Z-4ÿ;32.,ÿ6ÿ26/8>39ÿ6?63+89ÿ_<26+
       On 8/27/18, the Attorney General of the State of New York filed a lawsuit against Hylan

       *88.9ÿ̀6+6?.@.+9ÿ6+,ÿZ9:.-ÿ-.269.,ÿ=Z@a6+3.8ÿ=Z+=.-+3+?ÿ9:.ÿb:6+9Z@ÿc.d98A
       Asset Management and other related companies concerning the Phantom Debts.




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                The Web connecting Gitman and his associates to the Fake Debt Portfolios and Private Airlines



       *+,-./ÿ\:6..20ÿ6ÿ/.22-.8a.=9.,ÿd>83+.88@6+ÿ;-Z@ÿ>;;62Zÿ/68ÿZ+.ÿZ;ÿ9:.ÿa-3+=3a2.8
       Andrew Shaevel, a well-respected businessman from Buffalo was one of the principles

       3+Z2.,ÿ3+ÿ9:.ÿb:6+9Z@ÿc.d9ÿ8=:.@.Aÿ_.ÿ>293@69.2<ÿ=263@.,ÿ:.ÿ/68ÿ>+6/6-.ÿZ;ÿ9:.
       involved in the Phantom Debt scheme. He ultimately claimed he was unaware of the
       ;64.ÿ,.d98ÿd.3+?ÿ8Z2,ÿd<ÿ:38ÿ=Z@a6+<0ÿd>9ÿ.@632ÿ.3,.+=.ÿ8:Z/.,ÿ9:69ÿ:.ÿ/68ÿ6/6-.ÿZ;ÿ39
       fake debts being sold by his company, but email evidence showed that he was aware of it

       6+,ÿ,3,ÿ+Z9ÿ89Zaÿd><3+?ÿ>aÿ9:.ÿ;64.ÿ,.d98A
       and did not stop buying up the fake debts.




https://thesternfacts.com/under-trump-witness-protection-has-been-infiltrated-by-the-russian-mafia-f6e4825f10a5
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       Disbarred former lawyer Jon Purzihansky was his Partner in the venture. In 2006,

       <=0>,?/;-@9Hÿ?,6-174ÿ/ÿI=--,/;ÿ.50;ÿJ610,K/;ÿL,A,>1;ÿ8/-ÿ45=;2ÿM=,7A9ÿ54ÿ?17N,;Mÿ/
       Purzihansky, himself a Russian born American Citizen was found guilty of helping a

       I=--,/;ÿ65.-A10ÿ5.A/,;ÿ/ÿODPJÿ5;ÿ4/7-1ÿN01A1;-1-CÿQ97/;ÿ8/-ÿ/KK=-12ÿ54ÿN=0K?/-,;MÿA?1
       Russian mobster obtain a VISA on false pretenses. Hylan was accused of purchasing the

       <?/;A56ÿ+1.Aÿ<50A457,5-ÿA?05=M?ÿ/ÿL?,K/M5ÿ/01/ÿ,;A10612,/09HÿPA/0@ÿR/8C
       Phantom Debt Portfolios through a Chicago area intermediary, Stark Law.


       JAA50;19ÿ+1;;,-ÿO/KK5ÿ,-ÿA?1ÿ7/8910ÿ<=0>,?/;-@9ÿ/;2ÿP?/1B17ÿ?,012ÿA5ÿ2141;2ÿA?16CÿQ1
       Attorney Dennis Vacco is the lawyer Purzihansky and Shaevel hired to defend them. He

       ,-ÿA?1ÿ450610ÿS18ÿT50@ÿJAA50;19ÿU1;10/7Hÿ-10B,;Mÿ8?,71ÿU,=7,/;,ÿ8/-ÿV/950ÿ54ÿS18ÿT50@
       is the former New York Attorney General, serving while Giuliani was Mayor of New York

       L,A9ÿC
       City .


       O/KK5ÿ,-ÿ8177ÿ@;58;ÿ,;ÿS18ÿT50@ÿK,0K71-ÿ450ÿ.1K56,;MÿA?1ÿ75..9,-Aÿ450ÿW/-A1
       Vacco is well known in New York circles for becoming the lobbyist for Waste

       V/;/M161;Aÿ65;A?-ÿ/4A10ÿ-1AA7,;Mÿ/;ÿ/;A,XY0=-Aÿ7/8-=,Aÿ/M/,;-AÿA?16CÿV,K?/17ÿL/N=A5
       Management months after settling an anti-Trust lawsuit against them. Michael Caputo
       /7-5ÿ?,012ÿO/KK5ÿ/-ÿ?,-ÿ/AA50;19ÿ,;ÿA?1ÿZY0=6NÿI=--,/[ÿ-K/;2/7C
       also hired Vacco as his attorney in the “Trump Russia” scandal.




       J75;MÿK/61ÿA?1ÿU,A6/;ÿ\/6,79Cÿ:/K5.ÿU,A6/;HÿA?05=M?ÿ/ÿ]0/>,7,/;ÿD;B1-A61;AÿL56N/;9
       Along came the Gitman Family. Jacob Gitman, through a Brazilian Investment Company

       Z<0=21;AÿD;B1-A,61;A5-[ÿN=0K?/-12ÿEFFÿ6,77,5;ÿ,;ÿA?1ÿ4/@1ÿ21.AÿN50A457,5-Hÿ8?,71
       “Prudent Investimentos” purchased 200 million in the fake debt portfolios, while

https://thesternfacts.com/under—trump-witness-protection-has-been-infiItrated-by-the-russian-mafia-f6e4825f10a5
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       *++,-./0ÿ23+*/ÿ4,ÿ5,/4./67ÿ8*/*0./0ÿ497ÿ:,;4<,+.,=
       allowing Hylan to continue managing the portfolio.


       >.?*:7@.*ÿ+.A4AÿB;6@7/4ÿ*AÿC7./0ÿ;70.A47;7@ÿ./ÿDEFGHÿC3ÿI*5,CÿJ.48*/HÿKJLÿM/47;/*4.,/*+H
       Bizapedia lists Prudent as being registered in 2014, by Jacob Gitman, LGN International,

       */@ÿN,8*/ÿO*.?6+./=ÿP7A:.47ÿC7./0ÿ;70.A47;7@ÿC3ÿJ.48*/HÿB;6@7/4ÿ-*AÿC7./0ÿ;6/ÿ./
       and Roman Faizulin. Despite being registered by Gitman, Prudent was being run in

       :6C+.5ÿC3ÿP7//.AÿQ+788./0=ÿ27ÿ9*Aÿ/,ÿ5,//754.,/ÿ4,ÿ497ÿ5,8:*/3ÿ,/ÿ*/3ÿ;70.A4;*4.,/A
       public by Dennis Klemming. He has no connection to the company on any registrations

       <,;8Aÿ49*4ÿMRS7ÿA77/=
       forms that I’ve seen.



       T55,;@./0ÿ4,ÿU:7/ÿV,;:,;*47AHÿ497ÿ@.;754,;Aÿ,<ÿB;6@7/4ÿ*;7ÿ*ÿ>;*?.++.*/ÿ8*/HÿW@A,/ÿK6.A
       According to Open Corporates, the directors of Prudent are a Brazillian man, Edson Luis

       B*6+./,Hÿ*/@ÿ-9*4ÿ*::7*;Aÿ4,ÿC7ÿ*ÿXQY>ÿM/47;/*4.,/*+=Z
       Paulino, and what appears to be a “KSB International.”




       QY>ÿM/47;/*4.,/*+ÿ.Aÿ*ÿ[*+47A7ÿ5,8:*/3Hÿ<,;87@ÿA.\ÿ8,/49AÿC7<,;7ÿB;6@7/4ÿ./S7A47@ÿ./
       KSB International is a Maltese company, formed six months before Prudent invested in

       497ÿ<*]7ÿ@7C4ÿ:,;4<,+.,A=ÿM/ÿT:;.+ÿDEF^HÿQY>ÿ.4A7+<ÿ7/47;7@ÿ./4,ÿ*/ÿ*0;7787/4ÿ4,ÿ:6;59*A7
       the fake debt portfolios. In April 2016, KSB itself entered into an agreement to purchase

       :*;4ÿ,<ÿ497ÿB9*/4,8ÿ@7C4ÿ:,;4<,+.,Aÿ<;,8ÿ23+*/=ÿN,8*/ÿO*.?6+./ÿ-*Aÿ497ÿ:,./4ÿ,<
       part of the Phantom debt portfolios from Hylan. Roman Faizulin was the point of

       5,/4*54=
       contact.



       KJLÿM/47;/*4.,/*+Hÿ*ÿ;70.A47;7@ÿ*07/4ÿ<,;ÿB;6@7/4ÿM/S7A487/4,AHÿ<.+7@ÿ*ÿ+*-A6.4ÿ,/ÿC79*+<
       LGN International, a registered agent for Prudent Investmentos, filed a lawsuit on behalf

       ,<ÿQY>ÿM/47;/*4.,/*+Hÿ./ÿDEF_=ÿ̀97ÿK*-A6.4ÿ*++707Aÿ49*4ÿQY>ÿM/47;/*4.,/*+ÿ*/@
       of KSB International, in 2017. The Lawsuit alleges that KSB International and

       [,;@75973ÿY9*9*]ÿ*+,/0ÿ-.49ÿ,497;ÿN6AA.*/ÿ>6A./7AA87/ÿ*++707@+3ÿ;7*597@ÿ*/
       Mordechey Shahak along with other Russian Businessmen allegedly reached an

       *0;7787/4ÿ4,ÿ<,;8ÿQY>ÿ2,+@./0Aÿ*/@ÿ-,;]ÿ4,07497;ÿ4,ÿ5,++754ÿ,/ÿ497ÿ^Eÿ8.++.,/ÿ,<
       agreement to form KSB Holdings and work together to collect on the 60 million of

       :9*/4,8ÿ@7C4AÿQY>ÿ9*@ÿ:6;59*A7@ÿ<;,8ÿ23+*/=
       phantom debts KSB had purchased from Hylan.


       `97ÿTAA74Aÿ<,;ÿQY>ÿ2,+@./0Aÿ-7;7ÿ4;*/A<7;;7@ÿ4,ÿ*ÿ/7-ÿ5,8:*/3Hÿ[>JÿO./*/5.*+Hÿ;6/ÿC3
       The Assets for KSB Holdings were transferred to a new company, MBG Financial, run by

       ,/7ÿ,<ÿ497ÿP7<7/@7/4Aÿ./ÿY7:478C7;ÿDEF^=ÿ̀9.Aÿ./5+6@7Aÿ497ÿ*<,;787/4.,/7@ÿ<*]7ÿ@7C4A=
       one of the Defendents in September 2016. This includes the aforementioned fake debts.

       `9.AÿN*5]7477;./0ÿV*A7ÿ.AÿA4.++ÿ*54.S7ÿ./ÿ>;,-*;@ÿV,6/43
       This Racketeering Case is still active in Broward County




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       +,-,./ÿ,.ÿ1ÿ23456ÿ27848ÿ923ÿ68:9ÿ;3558;934<ÿ;1.ÿ<=8ÿ81;7ÿ39784ÿ3-84ÿ68:9<ÿ9719ÿ63.>9ÿ8-8.
       Living in a world where two debt collectors can sue each other over debts that don’t even

       8?,<9ÿ,<ÿ@,.6A:3//5,./ÿ278.ÿB3=ÿ<93Cÿ1.6ÿ97,.Dÿ1:3=9ÿ,9E
       exist is mind-boggling when you stop and think about it.




                                       FGHIJKGLÿNJKOPQKÿRSQTJPUQKÿVGWXQYKJÿZYOIÿOIQÿ[KX\]ÿ^J\YS_`
                                       Kocharov Partner Alexander Nogueira with the Trump Family.




       a,;7185ÿb3;7143-ÿ,<ÿB89ÿ1.39784ÿ9,8ÿc43@ÿd,9@1.ÿ93ÿe4=@CEÿf8ÿ,<ÿ1.ÿ32.84ÿ3cÿ923ÿe4=@C
       Michael Kocharov is yet another tie from Gitman tO Trump. He is an owner Of two Trump

       e3284ÿg1.1@1ÿg43C849,8<hÿ1.6ÿ15<3ÿ1ÿ48/,<98486ÿ1/8.9ÿc34ÿ3.8ÿ3cÿi1;3:ÿd,9@1.><
       Tower Panama Properties, and also a registered agent for one Of Jacob Gitman’s

       ;3@C1.,8<Eÿb3;7143-><ÿ:=<,.8<<ÿC149.84ÿj58?1.648ÿk8.9=41ÿl3/=8,41ÿ21<ÿ978ÿC4,@14B
       companies. Kocharov’s business partner Alexandre Ventura Nogueira was the primary

       :43D84ÿc34ÿ978ÿg1.1@1ÿg43m8;9ÿ1.6ÿ,<ÿ.32ÿ1ÿ;3.-,;986ÿc853.E
       broker for the Panama Project and is now a convicted felon.




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       q|s~}o
       "SIPHONING OFF MILLIONS OF DOLLARS FOR PERSONAL

       PROJECTS"
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  12324Case
       141 0:23-cv-62159-WPD
                      56789ÿTrump,
                      Under  9 ÿ68ÿ9
                                    Document
                                   Witness   8619-3
                                           Protection ÿhas
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                                                                  ÿinfiltrated
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       *+,-.ÿ+01ÿ234ÿ4-0ÿ5+631ÿ+78ÿ89.7-3:81ÿ30ÿ+ÿ,-0;7+,;ÿ134<=;8ÿ.830>ÿ<:+?81ÿ-=;ÿ30ÿ;28
       Jacob and his son David are embroiled in a contract dispute being played out in the
       @3+93ÿA-=0;?ÿ,-=7;ÿ4?4;89BÿC28ÿD:+30;3EE4ÿ+::8>8ÿ;2+;ÿ;28ÿF3;9+0G4ÿ43<2-081ÿHHÿ93::3-0
       Miami County court system. The Plaintiffs allege that the Gitman’s siphoned 11 million

       1-::+74ÿ-EEÿ-Eÿ;28ÿ,-0;7+,;ÿ;28?ÿ43>081ÿ30ÿIJHIÿE-7ÿ<874-0+:ÿ=48ÿ;27-=>2ÿ-08ÿ-Eÿ234
       dollars off of the contract they signed in 2012 for personal use through one of his

       ,-9<+0384KÿL+4;+ÿM-:130>4ÿN0-OÿP0-O0ÿ+4ÿL:+,P<-::ÿQ:88;ÿR0;870+;3-0+:BS
       companies, Basta Holdings (now known as Blackpoll Fleet International.)


       T4318ÿE7-9ÿ;234Kÿ;28ÿE-7987ÿL+4;+ÿAQUKÿT0178OÿV->=::-ÿ2+1ÿ234ÿQRWXTÿ989.87423<
       Aside from this, the former Basta CFO, Andrew Logullo had his FINRA membership

       4=4<80181ÿ1=8ÿ;-ÿ,-77=<;3-0BÿC234ÿ,+48ÿ,-008,;4ÿ+ÿ:-;ÿ-Eÿ1-;4ÿ;28ÿE8187+:ÿ>-6870980;
       suspended due to corruption. This case connects a lot of dots the federal government

       42-=:1ÿ2+68ÿ,-008,;81ÿ:-0>ÿ+>-B
       should have connected long ago.


       *+,-.Kÿ5+631Kÿ+01ÿ;28ÿF3;9+0ÿE+93:?ÿ.=43084484ÿ2+68ÿ+;;89<;81ÿ;-ÿ;=70ÿ;28ÿ,+48ÿ30;-ÿ-08
       Jacob, David, and the Gitman family businesses have attempted to turn the case into one

       ;2+;ÿ.:+984ÿ+0-;287ÿ<+7;?BÿC28?ÿ4;+7;81ÿ;28ÿ,+48ÿ.?ÿ,-0630,30>ÿ8687?-08ÿ+7-=01ÿ;289
       that blames another party. They started the case by convincing everyone around them

       ;2+;ÿL-7=,2ÿQ78819+0ÿO+4ÿ;28ÿ78+:ÿ18,343-0ÿ9+P87ÿ+01ÿ;2+;ÿ;28?ÿO878ÿ=0+O+78ÿ-Eÿ;28
       that Boruch Freedman was the real decision maker and that they were unaware of the

       43;=+;3-0ÿ+01ÿY=4;ÿE-::-O30>ÿ1378,;3-04B
       situation and just following directions.


       Z63180,8ÿQ78819+0G4ÿ:+O?874ÿ,-::8,;81ÿ;27-=>2-=;ÿ;28ÿ,+48ÿ7868+:81ÿ;2+;ÿQ78819+0
       Evidence Freedman’s lawyers collected throughout the case revealed that Freedman

       4=<<-481:?ÿO+40G;ÿ+0ÿ-EE3,87ÿ30ÿ;28ÿ,-9<+0?ÿ306-:681Kÿ0-7ÿ131ÿ28ÿE3::ÿ-=;ÿ+0?ÿ-Eÿ;28ÿ.+0P
       supposedly wasn’t an officer in the company involved, nor did he fill out any of the bank

       <+<87O-7PBÿC28ÿD:+30;3EE4ÿO878ÿ+.:8ÿ;-ÿ,-0630,8ÿ;28ÿ,-=7;ÿ;-ÿ78[=84;ÿ234ÿ+7784;ÿO3;2ÿE+:48
       paperwork. The Plaintiffs were able to convince the court to request his arrest with false

       30E-79+;3-0Kÿ.=;ÿ28ÿ2+1ÿ+:78+1?ÿE:81ÿ;28ÿ,-=0;7?ÿ1=8ÿ;-ÿ78,83630>ÿ;278+;4ÿE7-9ÿ;28
       information, but he had already fled the country due to receiving threats from the

       <:+30;3EE4B
       plaintiffs.


       5=730>ÿ;28ÿ,+48Kÿ3;ÿO+4ÿ7868+:81ÿ;2+;ÿ;28ÿD:+30;3EE4ÿ\ZBXBÿC7-3P+]ÿ+78ÿ+,;=+::?ÿ;28
       During the case, it was revealed that the Plaintiffs “E.R. Troika” are actually the

       9-.4;874ÿP0-O0ÿ+4ÿ;28ÿ^2+_+P2ÿ;73-BÿC28ÿC73-ÿ̀ ÿD+;-P2ÿA2-1386KÿT:3Y+0ÿR.7+>39-6ÿ+01
       mobsters known as the Khazakh trio. The Trio — Patokh Chodiev, Alij an Ibragimov and

       T:8a+0187ÿ@+,2P863,2ÿ̀ ÿ.=3:;ÿ;2837ÿE-7;=084ÿ30ÿ;28ÿ93030>Kÿ-3:ÿ+01ÿ>+4ÿ301=4;7?B
       Alexander Machkevich — built their fortunes in the mining, oil and gas industry.

       C28?G68ÿ<+7;08781ÿO3;2ÿ;28ÿL+?7-,PÿF7-=<ÿ-0ÿ1868:-<30>ÿC7=9<ÿb-M-ÿ30ÿ;28ÿ<+4;ÿ+01
       They’ve partnered with the Bayrock Group on developing Trump SoHo in the past and

       42+78ÿ8a;804368ÿ;384ÿ;-ÿQ8:3aÿb+;87B
       share extensive ties to Felix Sater.




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      *+,-.ÿ0+,1ÿ23450ÿ261.ÿ761ÿ3893,89:ÿ073ÿ3;ÿ<623=1ÿ2+,->5.8ÿ?@655Aÿ68>ÿB6C,>Dÿ7.5.ÿ=.,89
      1.5C.>ÿ.C,20,38ÿ830,2.1ÿ;35ÿ=5.62+,89ÿ0+.,5ÿ5.806-ÿ238056201EÿF80.5.10,89-Aÿ.8349+:ÿ60ÿ-.610
      38.ÿ3;ÿ0+.ÿ=530+.51ÿ41.>ÿ0+.,5ÿG30+.5:ÿH-,16:ÿ61ÿ6ÿ5.6-ÿ.1060.ÿ69.80EÿH-,16ÿ735I1ÿ;35ÿJ,=
      K.6-0A:ÿ0+.ÿ5.6-ÿ.1060.ÿ69.82Aÿ0+60ÿ6-G310ÿ.L2-41,C.-Aÿ>.6-1ÿ7,0+ÿM54GNÿN53N.50,.1ÿ,8
      O-35,>6
      J3452.1ÿ+6C.ÿN-62.>ÿP,2+6.-ÿQ3+.8ÿ,8ÿ0+.ÿ16G.ÿ735->ÿ61ÿ<623=ÿR,0G68ÿ38ÿG4-0,N-.
      32261,381ÿ61ÿ7.--EÿM+.5.ÿ65.ÿN5.00Aÿ1,98,;,2680ÿ,8>,5.20ÿ0,.1ÿ=.07..8ÿ0+.ÿ073:ÿ=40ÿ83
      1G3I,89ÿ948ÿ61ÿ3;ÿA.0E
      M+.1.ÿ6;35.G.80,38.>ÿ25,G.1ÿG.80,38.>ÿ6=3C.ÿ734->ÿ1.8>ÿ68A38.ÿ03ÿS6,-EÿQ.506,8-A:ÿ0+.
      O6I.ÿB.=0ÿ12+.G.ÿ+65G.>ÿG35.ÿN.3N-.ÿ0+68ÿT3--A733>ÿQ.-.=5,0,.1ÿ7610,89ÿG38.Aÿ03
      9.0ÿ0+.,5ÿI,>1ÿ,803ÿ5.N406=-.ÿ23--.9.1:ÿ=40ÿ0+,1ÿ+6NN.8.>ÿ=.2641.ÿ640+35,0,.1ÿ625311ÿ0+.
      234805Aÿ;6,-ÿ03ÿ1+65.ÿ830.1ÿ68>ÿ-62Iÿ0+.ÿG68N37.5ÿ03ÿ>3ÿ0+.ÿ5.1.652+ÿ8..>.>ÿ03ÿ;,8>ÿ0+.
      25,G.1E




      M+.ÿC.5Aÿ;620ÿ0+60ÿP38652+ÿH,5ÿ761ÿ6=-.ÿ03ÿ1,98ÿ073ÿG6S35ÿ*,08.11ÿJ.245,0Aÿ238056201
      7,0+ÿ0+.ÿBU<ÿ7+,-.ÿ=.,89ÿ0,.>ÿ03ÿ0+.ÿK411,68ÿP3=ÿ,1ÿ6ÿ1035Aÿ0+60ÿ1+34->ÿ+6C.ÿ=..8ÿ03->
      G380+1ÿ693EÿPAÿ38-Aÿ+3N.ÿ,1ÿ0+60ÿ13G.=3>Aÿ,GN350680ÿ,8ÿ0+.ÿP4.--.5ÿ,8C.10,960,38
      5.6>1ÿ0+,1ÿ650,2-.ÿ68>ÿ6201ÿ6NN53N5,60.-AE
      VWXYZ[ÿ]^ÿ_`XY]ÿa]b`Ycÿ
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     Case 0:23-cv-62159-WPD Document 19-3 Entered on FLSD Docket 12/21/2023 Page 21 of 22
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-021551-CA-01
         SECTION: CA15
         JUDGE: Jose Rodriguez

         Monarch Air Group, LLC et al
         Plaintiff(s)

         vs.

         Grant Stern
         Defendant(s)
         ____________________________/

                  ORDER GRANTING STIPULATION FOR SUBSTITUTION OF COUNSEL


                  THIS CAUSE came to be presented on the foregoing Stipulation for Substitution of

         Counsel between Stok Kon + Braverman and The Pollack Law Firm, it is hereby: ORDERED

         AND ADJUDGED


               1. The Stipulation is hereby GRANTED.

               2. Attorney David H. Pollack and The Pollack Law Firm, are hereby discharged from

                 any further responsibility.

               3. The law firm of Stok Kon + Braverman and attorney Joshua R. Kon shall be
             substituted as counsel for all Plaintiffs in this Action.
         DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 30th day of
         November, 2021.




                                                            2020-021551-CA-01 11-30-2021 6:55 PM
                                                               Hon. Jose Rodriguez

                                                               CIRCUIT COURT JUDGE
                                                               Electronically Signed


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        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



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